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                               IN THE UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF OHIO
                                         EASTERN DIVISION

ABBIE SHIBE,                                  :

                       Plaintiff,             :     CASE NO. 1:21 -cv-01436-SO

v.                                            :     JUDGE BRIDGET MEEHAN BRENNAN

CARDINAL CREDIT UNION, INC.                   :

                       Defendant.             :

                        DEFENDANT’S MOTION FOR SUMMARY JUDGMENT

          Pursuant to Rule 56 of the Federal Rules of Civil Procedure, Defendant Cardinal Credit

Union, Inc. (“Defendant”) respectfully moves for summary judgment on all claims asserted by

Plaintiff Abbie Shibe (“Plaintiff’). Plaintiff asserts two gender discrimination claims in her

Complaint for Damages and Reinstatement based on Ohio and federal law. Summary judgment is

appropriate on both claims because “there is no genuine dispute as to any material fact and

[Defendant] is entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a). This Motion is

supported by the attachedMemorandum in Support, the deposition ofPlaintiff, and the Declaration

of Christine Blake.

                                                     Respectfully submitted,

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I.       STATEMENT OF ADHERENCE TO L.R. 7.1

         This Memorandum in Support adheres to the page limitations set forth in Local Rule 7.1

of the United States District Court for the Northern District of Ohio. The present action has been

assigned to the standard case management track.


II.      BRIEF STATEMENT OF THE ISSUES

         A.            Whether summary judgment should be granted in favor of Defendant on Plaintiffs

Title VII gender discrimination claim.

         B.            Whether summary judgment should be granted in favor of Defendant on Plaintiffs

R.C. 4112.01 gender discrimination claim.

HI.      SUMMARY OF THE ARGUMENT

         Plaintiff Abbie Shibe (“Plaintiff’), a former branch manager for Defendant Cardinal

Credit Union, Inc. (“Defendant”), alleges that Defendant’s female Chief Executive Officer hired

Plaintiffin 2019onlyto decide to select Plaintiff for a reduction-in-force a little overa year later.

Plaintiff’s theory is even more called into question when the undisputed facts are reviewed.

         Cardinal is a credit union based in Mentor. Due to the COVID-19 Pandemic, Cardinal

implemented a significant reduction-in-force. A total of fourteen positions were eliminated and

one branch office was closed. Plaintiff was selected for the reduction because she was the only

branch manager who was on disciplinary probation at the time of the reduction.

         Plaintiff has no direct evidence of discrimination, admits that she cannot disagree that

Cardinal had grounds to implement the reduction, other female branch managers were not

selected for the reduction, and one other male branch manager was selected for the reduction.

Moreover, Plaintiff’s performance issues were well-documented.              Accordingly, summary

judgment should be granted in favor of Defendant because Plaintiff cannot prove aprima facie


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case of sex discrimination, Defendant can prove its legitimate, nondiscriminatory reason for

discharging Plaintiff, and Plaintiff cannot prove pretext. Thompson v. Fresh Prods., LLC, 985

F.3d 509, 522 (6th Cir. 2021); Romansv. Mich. Dep't ofHuman Servs., 668 F.3d 826,838 (6th Cir.

2012).

IV.      RELEVANT UNDISPUTED FACTS

         This Motion is based on the deposition of Plaintiff and the Declaration of Christine Blake,

Defendant’s Chief Executive Officer. (Declaration of Christine Blake at ^2 (hereinafter “Dec.

Blake at__ ”) (attached as Exhibit 1)). The material facts are not in dispute and summary judgment

should be granted in favor of Defendant.

         A.            Defendant Is A Credit Union That Focuses On Customer Service.

         Defendant is a credit union. (Dec. Blake at 4). A credit union is a member-owned, not-

for-profit financial cooperative that is owned, managed, and utilized by its member-owners. (Dec.

Blake at 5).           Cardinal’s policies provide that member-owned means that as a credit union

member, Cardinal’s members are never only a customer, but a full partner and owner of

Cardinal. (Dec. Blake at 5).

         Cardinal’s motto is “People Helping People.” (Dec. Blake at 6). Cardinal’s policies

require Cardinal employees to demonstrate this motto in every transaction that takes place at

Cardinal.      (Dec. Blake at 6).       Cardinal promises each member personalized service and

individualized financial attention.         (Dec. Blake at 6). Plaintiff admits that the customer

experience is very important at Cardinal. (Deposition of Plaintiff at 33 (hereinafter “Dep.

Plaintiff at___ ”) (cited pages attached as Exhibit 2). In order to verify responsiveness,

Plaintiff recalls that Cardinal enforced a rule that required Cardinal employees to respond to

customer issues within twenty-four hours. (Dep. Plaintiff at 34).



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          Cardinal’s headquartersis located in Mentor, Ohio. (Dec. Blake at 10).         Cardinal’s

flagship branch for members is also located in Mentor. (Dec. Blake at 10). Prior to the COVID-

19 Pandemic, in addition to the Mentor branch, Cardinal had branches located in Ashtabula,

Austintown, Lakeland, and Willoughby. (Dec. Blake at 10).

          Cardinal’s policies prohibit all forms of discrimination, including sex discrimination.

(Dec. Blake at 11 and Exhibit 1). In addition, Cardinal employees are also provided with complaint

procedures if they believe they are the victim of discrimination. (Dec. Blake at 11). In fact, due

to its size, Cardinal employees have direct access to both Cardinal’s Chief Executive Officer and

the Board. (Dec. Blake at 11).

         As a former manager responsible for enforcing Defendant’s policies, Plaintiff admits that

she was aware that Defendant’s policies prohibited harassment and discrimination. (Dep.

Plaintiff at 37). In fact, Plaintiff was responsible for enforcingthe policies due to her managerial

status. (Dep. Plaintiff at 40). Plaintiff further admits that she understood that she could report

any discrimination complaints to Defendant’s Human Resources Department. (Dep. Plaintiff at

37). Plaintiff finally admits that she never complained of discrimination during her employment

with Cardinal until after she was discharged. (Dep. Plaintiff at 38).

         B.            Plaintiff’s General Employment History With Defendant.

         Plaintiff was hired by Cardinal on December 10,2018. (Dec. Blake at 17); (Dep. Plaintiff

at 15). Christine Blake, Defendant’s long-tenured Chief Executive Officer was involved in the

hiring process due to the fact that Plaintiff was applying for the Branch Manager position of

Cardinal’s largest branch located in Mentor, Ohio. (Dec. Blake at 17-18). Plaintiff recalls the

Cardinal hiring process as including interviews by Blake, Cardinal’s Chief Operating Officer, and




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Cardinal’s Human Resources Manager. (Dep. Plaintiff at 23-24). Plaintiff admits that Christine

Blake, Cardinal’s Chief Executive Officer, made the decision to hire her. (Dep. Plaintiff at 92).

         Plaintiff’s position with Cardinal was Branch Manager for Cardinal’s Mentor, Ohio branch.

(Dep. Plaintiff at 24). Plaintiff worked as Cardinal’s Mentor Branch Manager until March 23,

2020. (Dec. Blake at 33 and Ex. 6). Plaintiff admits that she “enjoyed” her employment with

Defendant. (Dep. Plaintiff at 39). Relevant to this lawsuit, Plaintiff admits that no Cardinal

employee ever made any sex-based comments to her during her Cardinal employment. (Dep.

Plaintiff at 3 8).

         Plaintiff admits that the branch manager position is a difficult and important position.

(Dep. Plaintiff at 19). Branch managers have human resources and compliance responsibilities.

(Dep. Plaintiff at 19-20). In addition, a branch manager has profit and loss obligations. (Dep.

Plaintiff at 19-20). As to Cardinal, Plaintiff admits that the Mentor branch was a busy and high

demand location. (Dep. Plaintiff at 21). Finally, Plaintiff admits that not everyone can succeed

as a branch manager. (Dep. Plaintiff at 20).

         During her employment, Plaintiff recalls that the majority of the branch managers were

females. (Dep. Plaintiff at 29-30). In fact, Plaintiff recalls that four of five branch managers

were females at one point during her employment. (Dep. Plaintiff at 29-30). Plaintiff further

recalls that the majority of employees at Cardinal were female. (Dep. Plaintiff at 31).

         C.            Plaintiffs Documented Performance Issues.

          In 2019, Plaintiff’s first full year as a branch manager, the Mentor branch had high

employee turnover. (Dep. Plaintiff at 108). In fact, Plaintiff concedes that the turnover rate was

“abnormally” high. (Dep. Plaintiff at 108). Plaintiff received a 3.6 out of 5 on her 2019

performance evaluation. (Dep. Plaintiff at Ex. 7); (Dec. Blake at 21 and Ex. 2). Plaintiff was



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rated in five areas. (Dep. Plaintiff at Ex. 7). In two of the five areas, Plaintiff was rated as

“Needs Improvement”: (1) Knowledge of Job; and (2) Management. (Dep. Plaintiff at Ex. 7).

Plaintiff admits that the performance evaluation put her on notice of performance issues. (Dep.

Plaintiff at 110-111).

          On January 27, 2020, Plaintiff received an Employee Verbal Warning Notice. (Dep.

Plaintiff at Ex. 3). The Warning was due to Plaintiff’s failure to timely respond to customer

issues. (Dep. Plaintiff at Ex. 3). Plaintiff was advised of the customer response guidelines and

placed on a disciplinary probation for thirty days beginning on January 27,2020. (Dep. Plaintiff

at Ex. 3). Plaintiff does not believe that this warning was discriminatory. (Dep. Plaintiff at 58)

(“Q. Did you think that the two pieces of discipline were discriminatory? A. No.”).

          On February 19,2020, Plaintiff was disciplined again due to a random inspection of her

branch. (Dec. Blake at 25). Random inspections are often conducted by Cardinal in order to

verify that procedures are being followed everyday by Cardinal management, not simply in

advance of planned audits. (Dec. Blake at 25). The Mentor inspection revealed that Plaintiff was

not following onboarding procedures and customer account cards were not properly audited and

submitted. (Dep. Plaintiff at Ex. 4). Due to these issues, Plaintiff was placed on a sixty day

disciplinary probation beginning on February 19, 2020. (Dep. Plaintiff at Ex. 4). Plaintiff also

does not believe that this warning was discriminatory. (Dep. Plaintiff at58)(“Q. Did youthink

that the two pieces of discipline were discriminatory? A. No.”).

         On March 10, 2020, due to her continuing performance issues, Plaintiff was given a

document entitled 2020 Expectations.       (Dec. Blake at 26); (Dep. Plaintiff at Ex. 8).     The

expectations listed in the document are the most basic functions that are required of a Branch

Manager. (Dec. Blake at 26); (Dep. Plaintiff atEx. 8). Plaintiffreviewed and signed the document



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on March 10, 2020. (Dec. Blake at 26); (Dep. Plaintiff at Ex. 8). Although Plaintiff was not

discharged on this date, the Expectations and Plaintiff’s disciplinary probationary status placed

Plaintiff on notice that if her performance, and the performance of the Mentor branch, did not

improve, she was subject to discharge. (Dec.Blake at26); (Dep. Plaintiff at Ex. 8). As of March

10, 2020, Plaintiff was Cardinal’s lowest performing Branch Manager and only Branch Manager

on disciplinary probationary status. (Dec. Blake at 27).

          D.           The COVID-19 Pandemic Caused Cardinal To Implement A Significant
                       Reduction-In-Force.

          The COVID-19 Pandemic greatly impacted Cardinal. (Dec. Blake at 28). The Pandemic

required Cardinal to close it branch lobbies and to move branches to drive-through service only.

(Dec. Blake at 28). Plaintiff admits that these changes took place while she was still employed

by Cardinal. (Dep. Plaintiff at 14).

         Due to the customer contact changes and the unknowns created by the Pandemic,

Cardinal was forced to review its operations in order to determine if a reduction-in-force was

necessary. (Dec. Blake at 28-29). The same three people who interviewed and hired Plaintiff

also reviewed Cardinal’s operations for the reduction: (1) Cardinal’s Chief Executive Officer,

(2) Cardinal’s Chief Financial Officer, and (3) Cardinal’s Human Resources Manager. (Dec.

Blake at 29). This group ultimately concluded that one of Cardinal’s branch offices needed to be

closed and fourteen positions were eliminated. (Dec. Blake at 30-31 and Ex. 5), Males and

females were impacted by the reduction. (Dec. Blake at 30); (Dep. Plaintiff at Ex. 6).

         Plaintiff admits that the Mentor branch was greatly impacted by the reduction. (Dep. 72-

73). Plaintiff’s male Assistant Manager was selected for the reduction. (Dep. Plaintiff at 72-73).

In addition to Plaintiff and the Assistant Manager, Plaintiff admits that five other Mentor branch

employees were impacted by the reduction. (Dep. Plaintiff at 73); (Dec. Blake at 32). Plaintiff


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was selected for the COVID-19 Pandemic reduction due to her disciplinary probationary status

and continuing performance issues. (Dec. Blake at 32). The termination letter explicitly referred

to the CO VID-19 Pandemic. (Dep. Plaintiff at Ex. 5).

         Plaintiff admits that she has no evidence of discriminatory motive. (Dep. Plaintiff at 79

(“A. Again, I don’t know why Ms. Blake made that decision”). Plaintiff further admits that she

cannot explain her position that a woman would discriminate against Plaintiff due to the fact that

Plaintiff is a woman. (Dep. Plaintiff at 78). Finally, Plaintiff admits that other female branch

managers were not impacted by the reduction. (Dep. Plaintiff at 47).

         Moreover, Plaintiff admits that the COVID-19 Pandemic caused the job market in the

banking industry to come to a “standstill.” (Dep. Plaintiff at 13). Plaintiff further admits that the

Pandemic created a very uncertain time for everyone. (Dep. Plaintiff at 65). Finally, Plaintiff

admits that she cannot disagree with Cardinal’s decision that a reduction was necessary due to the

Pandemic. (Dep. Plaintiff at 67).

         Due to the uncertain nature of the COVID-19 Pandemic, Plaintiff’s position was not

initially replaced. (Dec. Blake at 34). Rather, Cardinal’s current Chief Operating Officer took

over Plaintiff’s Branch Manager duties, and continued to perform his own Interim COO duties

from March 23,2020 until May 18,2020. (Dec. Blake at 34). When Cardinal moved the Interim

COO into this role, it was uncertain how long he would continue performing both roles because it

was unknown when the branches would fully reopen for customers. (Dec. Blake at 34).

V.       ARGUMENT

         A.         Standard of Review.

         Summary judgment is appropriate “if the movant shows that there is no genuine dispute as

to any material factand the movantis entitled to judgment as a matter of law.” Fed.R.Civ.P. 56(a).



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Defendant, as the movant, has the burden of proving that there are no genuine issues of material

fact Celotex Corp. v. Catrett, 477 U.S. 317, 322-23 (1986). This Court evaluates the evidence in

the light most favorable to Plaintiff when reviewing Defendant’s motion. Reeves v. Sanderson

Plumbing Prods., Inc., 530 U.S. 133 (2000). However, the mere scintilla of evidence supporting

Plaintiff is not sufficient; there mustbe evidence on whichajury could reasonably find for Plaintiff

in order to deny Defendants’ motion. Anderson v. Liberty Lobby, Inc., 477 U.S. 242,251 (1986).

          Based on this Motion, Defendant has satisfied its initial burden by “identifying those parts

of the record which demonstrate the absence of any genuine issue of material fact.” Lindsey v.

Whirlpool Corp., 295 Fed. Appx. 758,764 (6th Cir. 2008). The burden now shifts to Plaintiff who

has the burden to “point to evidence that demonstrates that there is a genuine dispute of material

fact for trial.” Ask Cherns., LP v. ComputPackages, Inc., 593 Fed. Appx. 506, 508 (6th Cir. 2014).

“[T]he nonmoving party may not simply rely on its pleading, but must ‘produce evidence that

results in a conflict of material fact to be solved by a jury.’” MISC Berhad v. Advanced Polymer

Coatings, Inc., 101 F.Supp. 3d 731, 736 (N.D. Ohio 2015).

         B.         Plaintiff’s Title VII And R.C, 4112.01 Gender Discrimination Claims Fail As
                    A Matter Of Law.

         Plaintiff’s Complaint includes two claims for relief from alleged gender discrimination.

The claims are based on Plaintiff’s allegation that “[t]here was a causal connection between

[Plaintiff’s] gender and Defendant’s termination of [Plaintiff].” Complaintatlf 51. The firstclaim

is based on the alleged violation of Title VII of the Civil Rights Act. The second claim is based on

the alleged violation of R.C. 4112.01. R.C. 4112 is Ohio’s counterpart to Title VII, therefore,

federal case law interpreting Title VII is applicable to actions brought under R.C. 4112. Hamilton

v. SYSCO Food Servs. of Cleveland, Inc., 170 Ohio App.3d 203, 2006-0hio-6419, 866 N.E.2d

559427(8thDist.).


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                  1.    Plaintiff cannot prove a prima facie case of discrimination.

         To establish a prima facie case of gender discrimination, Plaintiff must show that: “(1) she

is a member of a protected class; (2) she suffered an adverse employment action; (3) she was

qualified for the position; and (4) that the position was filled by a person outside the protected

class.” Id. at^f 29 (citing McDonnell Douglas Corp. v. Green, 411 U.S. 792, 802(1973)). Where,

as in the instant case, an employee is laid off as part of a reduction-in-force, the fourth requirement

is modified to require Plaintiff to show “direct, circumstantial, or statistical evidence tending to

indicate that the employer singled out the plaintiff for discharge for impermissible reasons.”

Thompson v. Fresh Prods., LLC, 985 F.3d 509, 522 (6th Cir. 2021).

         Plaintiff simply cannot meet this burden in this case. Due to the uncertain nature of the

COVID-19 Pandemic, Plaintiff’sposition was not initially replaced. (Dec. Blake at 34). Rather,

Cardinal’s current Chief Operating Officer took over Plaintiff’s Branch Manager duties, and

continued to perform his own Interim COO duties from March 23,2020 until May 18,2020. (Dec.

Blake at 34). When Cardinal moved the Interim COO into this role, it was uncertain how long he

would continue performing both roles because it was unknown when the branches would fully

reopen for customers. (Dec. Blake at 34).

         Moreover, Plaintiff cannot show “direct, circumstantial, or statistical evidence tending to

indicate that the employer singled out the plaintiff for discharge for impermissible reasons.”

Thompson, 985 F.3d at 522. Plaintiff admits that no Cardinal employee made any sex-based

comments during her employment. (Dep. Plaintiff at 3 8). In addition, the reduction-in-force was

significant: (1) Males and females were impacted by the reduction. (Dec. Blake at 30); (Dep.

Plaintiff at Ex. 6); (2) Plaintiff’s male Assistant Manager was selected for the reduction. (Dep.

Plaintiff at 72-73); (3) In addition to Plaintiff and the Assistant Manager, Plaintiff admits that five



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other Mentor branch employees were impacted by the reduction. (Dep. Plaintiff at 73); (Dec.

Blake at 32); and (4) Plaintiff admits that other female branch managers were not impacted by the

reduction. (Dep. Plaintiff at 47).

         Finally, Defendant’s Lakeland branch managed by Rob Petrie, a male, was shuttered

shortly after Plaintiff’s discharge. (Dep. Plaintiff at 83). Accordingly, Plaintiff cannot prove a

prima facie case of gender discrimination. McKinley, W.D.Pa. No. 04-222 Erie, 2006 U.S. Dist.

LEXIS 108506, at * 16 (“Based on the foregoing, Plaintiff has failed to identify a male employee

who was similarly situated to her and received more favorable treatment. Moreover, Plaintiff has

failed to allege any other circumstances that give rise to an inference of gender discrimination. As

a result, Plaintiff is unable to satisfy the fourth element of a prima facie case of gender

discrimination, and such claim should be dismissed”).

                  2.   Plaintiff cannot meet the but for standard.

         In addition to the higher standard applicable to a reduction-in-force, the United States

Supreme Court, in University of Texas Southwestern Medical Center v. Nassar, 570 U.S. 338

(2013), held that the “but for” standard applies to Title VII claims. Id. at362-363. The Nassar

Court reviewed the “because of’ language contained in the Title VII statute. Id. at 348. Based on

the because of language, the Court held that Title VII claims “must be proved according to

traditional principles of but-for causation...” Id. at 360. This standard "requires proofthat the

unlawful retaliation would not have occurred in the absence ofthe alleged wrongful action or

actions ofthe employer.'’'’ Id. (emphasis added); Bostock v. Clayton Cty., 140 S. Ct. 1731,1739

(2020) (applied but for standard to sex discrimination claim under Title VII due to because of

language); GM, LLC v. FCA US, LLC, 44 F.4th 548, 559 (6th Cir. 2022).




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          The same actor inference is applicable to Plaintiff’s claim because the same group of

employees made the decision to hire Plaintiff and to select her for termination. Wexler v. White’s

Fine Furniture, Inc., 317 F.3d 564, 572 (6111 Cir. 2003) (enbanc). The same actor inference allows

a court “to infer a lack of discrimination from the fact that the same individual both hired and fired

the employee.” Id. at 572 (quoting Buhrmaster v. Overnite Transp. Co., 61 F.3d 461 (6th Cir.

1995)). Moreover, Plaintiff has no explanation for why a woman, Christine Blake, would

somehow hire Plaintiff, but later select Plaintiff for a reduction due to Plaintiff’s sex. (Dep.

Plaintiff at 78). Accordingly, Plaintiff cannot meet the but for standard for insurance claims.

Bostock v. Clayton Cty., 140 S. Ct. 1731, 1739 (2020) (applied but for standard to sex

discrimination claim under Title VII due to because of language).

                    3.   Plaintiff cannot prove pretext.

          If, arguendo, Plaintiff can establish a prima facie case, the burden shifts to Defendant to

provide a legitimate, nondiscriminatory reason for the adverse action. Thompson, 985 F.3d at 522.

In this case, Defendant discharged Plaintiff and fourteen employees across all branches on Ihe

same day atthe beginningof the economic uncertainty ofthe COVID-19 shutdown. (Dep. Plaintiff

at 42). Plaintiff admits that she had never experienced anything like the COVID-19 shutdown.

(Dep. Plaintiff at 62). She further admits that she cannot disagree with Defendant’s decision that

a reduction-in-force was necessary atthe beginningof the COVID-19 shutdown uncertainty. (Dep.

Plaintiff at 67).

         Finally, because Defendant can prove a legitimate, nondiscriminatory reason, the burden

shifts back to Plaintiff to make a showing that the stated reason is merely pretext for unlawful

discrimination. Romans v. Mich. Dep't ofHuman Servs., 668 F.3d 826, 838 (6th Cir. 2012). To

establish pretext, a plaintiff may show the defendant's reason (1) has no basis in fact, (2) did not



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actually motivate the defendant's challenged conduct, or (3) was insufficient to warrant the

challenged conduct. Thompson, 985 F.3d at 522. Plaintiff cannot meet any of these three pretext

standards.

         In this matter, Plaintiff admits that she cannot dispute Cardinal’s decision to implement a

reduction due to the CO VID-19 Pandemic. (Dep. Plaintiff at 67). Fourteen positions were

eliminated and a branch office was closed so Plaintiff cannot call the reduction into question. (Dep.

Plaintiff at Ex. 6); (Dec. Blake at 31). Moreover, “[a]s of March 10,2020, Plaintiff was Cardinal’s

lowest performing Branch Manager and only Branch Manager on disciplinary probationary

status.” (Dec. Blake at 27). Plaintiff admits that her discipline was not discriminatory (Dep.

Plaintiff at 58). Finally, Plaintiff admits that she is unaware of any other branch manager being

on disciplinary probation when the COVID-19 Pandemic began.                 (Dep. Plaintiff at 58).

Accordingly, Plaintiff cannot meet the pretext standard.

VI.      CONCLUSION

         Based on the above-cited arguments and authorities, there are no genuine issues of

material fact and summary judgment should be entered in favor of Defendant on all claims

asserted by Plaintiff.

                                                      Respectfully submitted,

                                                      /s/ David A. Campbell__________________
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                                 CERTIFICATE OF SERVICE

          I hereby certify that on this 10th day of November 2022, a true and correct copy of the

foregoing has been electronically filed with the Court and notice was sent to all parties through the

Court’s EM/ECF system.


                                                      /s/ David A. Campbell__________________
                                                      David A. Campbell (0066494)

                                                      Attorneyfor Defendant




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